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                               UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA
                                                       )
          v.                                           )    CR NO: 2:10-cr-00042 MCE
                                                       )
JAMES JOHNSON

                          APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                     : Ad Prosequendum                             9 Ad Testificandum.
Name of Detainee:             James JOHNSON
Detained at (custodian):      Rio Cosumnes Correctional Center
                              12500 Bruceville Road
                              Elk Grove, California 95757
Detainee is:    a.)   9 charged in this district by:
                            : Indictment                     9 Information                9 Complaint
                            Charging Detainee With:         Conspiracy to Distribute and Possess with Intent to
                                                            Distribute MDMA in violation of 21 U.S.C. §§ 846,
                                                            841(a)(1), and additional drug trafficking charges
          or    b.)   9 a witness not otherwise available by ordinary process of the Court
Detainee will: a.)    9 return to the custody of detaining facility upon termination of proceedings
       or      b.)    : be retained in federal custody until final disposition of federal charges
Appearance is necessary forthwith in the Eastern District of California.
                              Signature:/s/Jason Hitt
                              Printed Name & Phone No: Jason Hitt (916) 554-2751
                              Attorney of Record for:  United States of America
                                    WRIT OF HABEAS CORPUS
                      : Ad Prosequendum               9 Ad Testificandum
       The above application is granted and the above-named custodian, as well as the United States Marshal’s
Service for this district, is hereby ORDERED to produce the named detainee, forthwith, and any further
proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to the
above-named custodian.
Dated: August 17, 2012

                                                   _______________________________________
                                                   MORRISON C. ENGLAND, JR.
                                                   UNITED STATES DISTRICT JUDGE




Form C rim-48                                                                                         R evised 11/19/97
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Please provide the following, if known:
 AKA(s) (if applicable):        James JOHNSON                                             Male :   Female 9
 Booking or CDC #:              09494784                                                  DOB:     09/12/89
 Facility Address:              Rio Cosumnes Correctional Center                          Race:
                                12500 Bruceville Road, Elk Grove, California              FBI #:
 Facility Phone:                916.874.1927
 Currently Incarcerated For: State drug charges.
                                              R E T U R N O F SE R V IC E


Executed on             by
                                                                            (Signature)




Form C rim-48                                                                                         R evised 11/19/97
